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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO
|

UNITED STATES OF AMERICA, )
Plaintiff, )  CRIMINALNO. |9-¢2-333 3\WA
)
VS. ) 18 U.S.C. §§ 1152 and 1111: Second
) Degree Murder.
MALCOLM TORRES, )
)
Defendant. )
INDICTMENT
The Grand Jury charges:

On or about September 7, 2019, in Indian Country, in Rio Arriba County, in the District of
New Mexico, the defendant, MALCOLM TORRES, unlawfully killed Jane Doe, an Indian, with
malice aforethought.

In violation of 18 U.S.C. §§ 1152 and 1111.

A TRUE BILL:

/s/
FOREPERSON OF THE GRAND JURY

 

 

 

Ssjstapt United States Attorney

  
  

3/15/16 10:10 am

 
